Case 2:23-bk-12808-BB   Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39   Desc
                        Main Document    Page 1 of 12
                Case 2:23-bk-12808-BB                     Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                        Desc
                                                          Main Document    Page 2 of 12



Fill in this information to identify your case:

Debtor 1                  Marcus John Edwards
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

Case number           2:23-bk-12808-BB
(if known)                                                                                                                               Check if this is an
                                                                                                                                         amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                          lived there                                                                        lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income              Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.          (before deductions
                                                                               exclusions)                                                   and exclusions)

From January 1 of current year until              Wages, commissions,                      $14,080.00            Wages, commissions,
the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips
                                                  Operating a business                                            Operating a business

                                                  Wages, commissions,                             $0.00          Wages, commissions,
                                               bonuses, tips                                                  bonuses, tips
                                                  Operating a business                                            Operating a business



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1
            Case 2:23-bk-12808-BB                          Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                   Desc
                                                           Main Document    Page 3 of 12
Debtor 1     Marcus John Edwards                                                                       Case number (if known)   2:23-bk-12808-BB


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income          Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.      (before deductions
                                                                                exclusions)                                               and exclusions)

For last calendar year:                            Wages, commissions,                      $43,952.00            Wages, commissions,
(January 1 to December 31, 2022 )               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                            Operating a business

                                                   Wages, commissions,                      $86,395.00            Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                            Operating a business

For the calendar year before that:                 Wages, commissions,                        $1,635.00           Wages, commissions,
(January 1 to December 31, 2021 )               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                            Operating a business

                                                   Wages, commissions,                     $119,808.00            Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                            Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income          Gross income
                                                Describe below.                 each source                    Describe below.            (before deductions
                                                                                (before deductions and                                    and exclusions)
                                                                                exclusions)
From January 1 of current year until Unemployment                                             $7,200.00
the date you filed for bankruptcy:

For last calendar year:                         retirement cashout -                        $55,925.00
(January 1 to December 31, 2022 )               July 2022

                                                Unemployment                                  $4,750.00

                                                Ascensus Trust                                $6,237.00
                                                Company


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 2
            Case 2:23-bk-12808-BB                   Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                      Desc
                                                    Main Document    Page 4 of 12
Debtor 1     Marcus John Edwards                                                                 Case number (if known)   2:23-bk-12808-BB



           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.     Go to line 7.
                     Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                             include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                             attorney for this bankruptcy case.


      Creditor's Name and Address                    Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                           paid            still owe
      M&T Credit Services                            Last three months              $10,000.00           $20,802.00          Mortgage
      Attn: Bankruptcy                                                                                                       Car
      Po Box 844                                                                                                             Credit Card
      Buffalo, NY 14240                                                                                                      Loan Repayment
                                                                                                                             Suppliers or vendors
                                                                                                                             Other

      BMO Harris Bank                                Last three months              $19,000.00           $21,764.00          Mortgage
      P.O. Box 365                                                                                                           Car
      Arlington Heights, IL 60006                                                                                            Credit Card
                                                                                                                             Loan Repayment
                                                                                                                             Suppliers or vendors
                                                                                                                             Other

      Amazon                                         Last three months                $2,800.00            $2,877.00         Mortgage
      P.O. Box 9029                                                                                                          Car
      Des Moines, IA 50368                                                                                                   Credit Card
                                                                                                                             Loan Repayment
                                                                                                                             Suppliers or vendors
                                                                                                                             Other

      Best Buy                                       Last three months                $3,346.00          $10,966.00          Mortgage
      Attn: Bankruptcy Attorney                                                                                              Car
      P.O. Box 6497                                                                                                          Credit Card
      Sioux Falls, SD 57117                                                                                                  Loan Repayment
                                                                                                                             Suppliers or vendors
                                                                                                                             Other

      Verizon Visa                                                                      $280.00                 $0.00        Mortgage
                                                                                                                             Car
                                                                                                                             Credit Card
                                                                                                                             Loan Repayment
                                                                                                                             Suppliers or vendors
                                                                                                                             Other

      Home Depot                                     Last three months                  $190.00              $800.00         Mortgage
      P.O. Box 103047                                                                                                        Car
      Roswell, GA 30076                                                                                                      Credit Card
                                                                                                                             Loan Repayment
                                                                                                                             Suppliers or vendors
                                                                                                                             Other

      American Express                               Last three months                $2,400.00          $20,592.00          Mortgage
      PO Box 3001                                                                                                            Car
      Malvern, PA 19355                                                                                                      Credit Card
                                                                                                                             Loan Repayment
                                                                                                                             Suppliers or vendors
                                                                                                                             Other



Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
            Case 2:23-bk-12808-BB                     Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                      Desc
                                                      Main Document    Page 5 of 12
Debtor 1     Marcus John Edwards                                                                   Case number (if known)   2:23-bk-12808-BB


      Creditor's Name and Address                      Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                             paid            still owe
      BMO Harris Bank                                  Last three months                  $389.00          $15,091.00          Mortgage
      P.O. Box 365                                                                                                             Car
      Arlington Heights, IL 60006                                                                                              Credit Card
                                                                                                                               Loan Repayment
                                                                                                                               Suppliers or vendors
                                                                                                                               Other

      Citibank Sd, Na                                  Last three months                $5,298.00          $21,999.00          Mortgage
      P.O. Box 6241                                                                                                            Car
      Sioux Falls, SD 57117                                                                                                    Credit Card
                                                                                                                               Loan Repayment
                                                                                                                               Suppliers or vendors
                                                                                                                               Other

      Citibank Sd, Na                                  Last three months                $7,662.00          $16,716.00          Mortgage
      P.O. Box 6241                                                                                                            Car
      Sioux Falls, SD 57117                                                                                                    Credit Card
                                                                                                                               Loan Repayment
                                                                                                                               Suppliers or vendors
                                                                                                                               Other

      Citibank Sd, Na                                  Last three months                $2,133.00          $24,006.00          Mortgage
      P.O. Box 6241                                                                                                            Car
      Sioux Falls, SD 57117                                                                                                    Credit Card
                                                                                                                               Loan Repayment
                                                                                                                               Suppliers or vendors
                                                                                                                               Other

      Goldman Sach Bank USA                            Last three months                $4,692.00            $4,155.00         Mortgage
      P.O. Box 45400                                                                                                           Car
      Salt Lake City, UT 84145                                                                                                 Credit Card
                                                                                                                               Loan Repayment
                                                                                                                               Suppliers or vendors
                                                                                                                               Other

      American Express                                 Last three months                $2,000.00          $17,000.00          Mortgage
      PO Box 3001                                                                                                              Car
      Malvern, PA 19355                                                                                                        Credit Card
                                                                                                                               Loan Repayment
                                                                                                                               Suppliers or vendors
                                                                                                                               Other


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
            Case 2:23-bk-12808-BB                       Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                        Desc
                                                        Main Document    Page 6 of 12
Debtor 1     Marcus John Edwards                                                                     Case number (if known)    2:23-bk-12808-BB


8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      Marcus Edwards, petitioner v.                      Divorce                      Superior Court of                           Pending
      Lorraine Cordero, respondent                       proceeding                   CA-Whittier                                 On appeal
      Respondent aliases: Lorraine C.                                                 7339 Painter Ave                            Concluded
      Cordero, Lorraine C. Carrillo,                                                  Whittier, CA 90602
      Lorraine C. Castaneda, Lorraine
      Castaneda Cordero, Lorraine
      Carrillo Cordero, Lorraine
      Castaneda Carrillo, Lorraine Carillo
      Castaneda
      22-WHFL-01211

      Marcus John Edwards, Defendant                     Criminal law                 Superior Court of                           Pending
      DOWVA159489-01                                     matter                       CA-Norwalk                                  On appeal
                                                                                      12720 Norwalk Blvd, Room                    Concluded
                                                                                      101
                                                                                      Norwalk, CA 90650


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened
      Financial Partners CU                              2017 Toyota Camry Hybrid                                       October 2022                $17,000.00
      7800 Imperial Highway
      Downey, CA 90242                                       Property was repossessed.
                                                             Property was foreclosed.
                                                             Property was garnished.
                                                             Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
           No
           Yes
Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
            Case 2:23-bk-12808-BB                      Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                    Desc
                                                       Main Document    Page 7 of 12
Debtor 1     Marcus John Edwards                                                                    Case number (if known)    2:23-bk-12808-BB



Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600              Describe the gifts                                       Dates you gave                Value
      per person                                                                                                       the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total          Describe what you contributed                            Dates you                     Value
      more than $600                                                                                                   contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)
      Gahr High School                                        $2745 - cash donation                                    2021                      $2,745.00



Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and            Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                         Include the amount that insurance has paid. List pending           loss                           lost
                                                    insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                     Description and value of any property                    Date payment              Amount of
      Address                                                 transferred                                              or transfer was            payment
      Email or website address                                                                                         made
      Person Who Made the Payment, if Not You
      Westgate Law                                            $2000 plus ff                                            2023                      $2,000.00
      16444 Paramount Blvd
      Suite 205
      Paramount, CA 90723
      Justin@westgatelaw.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                     Description and value of any property                    Date payment              Amount of
      Address                                                 transferred                                              or transfer was            payment
                                                                                                                       made




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
              Case 2:23-bk-12808-BB                         Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                   Desc
                                                            Main Document    Page 8 of 12
Debtor 1      Marcus John Edwards                                                                        Case number (if known)   2:23-bk-12808-BB


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or      Date transfer was
      Address                                                      property transferred                       payments received or debts    made
                                                                                                              paid in exchange
      Person's relationship to you
      Michael Alurash                                              1939 Ford Tutor                            $2,000                        April 2023
                                                                   $2,000
                                                                   This vehicle is
      Private Party                                                non-operational. Debtor was
                                                                   quoted $7,500 for upholstery
                                                                   work. $6K to $10K for motor
                                                                   repairs.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                        Date Transfer was
                                                                                                                                            made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was           Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,          before closing or
      Code)                                                                                                           moved, or                       transfer
                                                                                                                      transferred
      Financial Partners CU                                  XXXX-                           Checking                 March 2020                       $88.00
      7800 Imperial Highway                                                                  Savings
      Downey, CA 90242                                                                       Money Market
                                                                                             Brokerage
                                                                                             Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents                Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                             have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access            Describe the contents                Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 7
            Case 2:23-bk-12808-BB                          Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                       Desc
                                                           Main Document    Page 9 of 12
Debtor 1     Marcus John Edwards                                                                            Case number (if known)   2:23-bk-12808-BB


     for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                          Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                   Status of the
      Case Number                                                Name                                                                            case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 8
            Case 2:23-bk-12808-BB                        Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                      Desc
                                                         Main Document    Page 10 of 12
Debtor 1     Marcus John Edwards                                                                       Case number (if known)   2:23-bk-12808-BB



           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business               Employer Identification number
      Address                                                                                                Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                             Dates business existed
      Marcus Edwards                                       Consultant                                        EIN:

                                                                                                             From-To      2020 to present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 9
Case 2:23-bk-12808-BB   Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39   Desc
                        Main Document    Page 11 of 12
Case 2:23-bk-12808-BB                       Doc 8 Filed 05/16/23 Entered 05/16/23 10:30:39                                                     Desc
                                            Main Document    Page 12 of 12




                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding . My business address is:
16444 Paramount Boulevard
Suite 205
Paramount, CA 90723

A true and correct copy of the foregoing document entitled (specify) : Summary of Amended Schedules, Master Mailing List, and or
Statements     will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d) ; and (b) in
the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) : Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 05-16-23 , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:

D Justin Harelik  info@westgatelaw.com, r61832@notify.bestcase.com ;naaz@westgatelaw.com
United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
Timothy Yoo (TR)    tjytrustee@lnbyg.com , tjy@trustesolutions.net


                                                                                    D Service information continued on attached page
2. SERVED BY UNITED STATES MAIL: On (date) 5-16-23                 , I served the following persons and/or entities at the last known
addresses in th is bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class , postage prepaid , and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed .

 Hon. Sheri Bluebond
United States Bankruptcy Court
Central District of California
255 E. Temple Street, Suite 1539
Los Angeles, CA 900 I 2


                                                                                    D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each person
or entity served) : Pu rsuant to F.R.Civ .P. 5 and/or controlling LBR, on (date ) __ , I served the following persons and/or entities by
personal delivery , overnight mail service, or (for those who consented in writing to such service method), by facsim ile transm ission and/or
email as follows . Listing the judge here constitutes a declaration that personal delivery on , or overnight mail to , the judge will be
completed no later than 24 hours after the document is filed .




                                                                                    D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
May 16, 2023                       Naz Hafezzada                                         ...;./.;;..s/__N'-'-a""z;;;...;..;H..:caccfec.czz=ad.::.a:;.___ _ _ _ _ _ _ _ _ _ _ _ __
Date                               Printed Name                                           Signature




    Th is form is mandatory. It has been approved for use by the Un ited States Bankruptcy Court for the Central District of Califo rnia.

December 2015                                                  Page 2                                    F 1007-1 .1.AMENDED.SUMMARY
